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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                          Martinsburg Division

  UNITED STATES OF AMERICA

  v.                                                   Case No.                      /~7

  TIMOTHY JOHN WATSON,

                      Defendant.

                                   AFFIDAVIT IN SUPPORT OF
                                    CRIMINAL COMPLAINT

          I, Mark McNeal, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

          1.     I make this affidavit in support of a Criminal Complaint alleging that the defendant,

 Timothy John Watson, violated 18 U.S.C.      § 371,   18 U.S.C.   § 922(o), and 26 U.S.C. § 5861(a).
          2.     Title 18, United States Code, Section 371 prohibits two or more persons from

 conspiring to commit any offense against the United States.

          3.     Title 18, United States Code, Section 922(o) prohibits the knowing possession of a

 machinegun.

          4.     Title 26, United States Code, Section 586 1(a) prohibits a person from engaging in

 business as a manufacturer or importer of, or dealer in, firearms without having paid the special

 occupational tax or having registered, as required by Federal law.

          5.     Title 18, United States Code, Section 921(a)(23) incorporates the definition in 26

 U.S.C.   § 5 845(b) of a machinegun as “any weapon which shoots, is designed to shoot, or can be
 readily restored to shoot, automatically more than one shot, without manual reloading, by a single

 function of the trigger.” According to   § 5 845(b), the term “machinegun” also includes “the frame
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 or receiver of any such weapon, any part designed and intended solely and exclusively, or

 combination parts designed and intended, for use in converting a weapon into a machinegun, and

 any combination of parts from which a machinegun can be assembled if such parts are in the

 possession or under the control of a person.”

          6.      The Bureau of Alcohol, Tobacco, and Firearms (“ATF”) has examined an auto sear

 known by various trade names including “AR1 5 Auto Sear,” “Drop In Auto Sear,” and “Auto Sear

 II,” which consists of a sear mounting body, sear, return spring, and pivot pin. The ATF has found

 that the single addition of this auto sear to certain AR1 5 type semiautomatic rifles, manufactured

 with M16 internal components already installed, will convert such rifles to machineguns. Thus,

 the auto sear is a combination of parts designed for use in converting a weapon to shoot

 automatically more than one shot, without manual loading, by a single function of the trigger.

 Consequently, the auto sear is a machinegun as defined by 26 U.S.C.     § 5845(b).   See 27 C.F.R.

 §   179.11.

          7.      I have been employed as a Special Agent of the Federal Bureau of Investigation

 (“FBI”) since May 2015, and I am currently assigned to Martinsburg, West Virginia Resident

 Agency of the Pittsburgh Division. I attended the FBI’s training academy in Quantico, Virginia,

 where I received instruction regarding a variety of investigations. I graduated from the FBI

 training academy as a Special Agent in November 2015. I serve as the Assistant Coordinator for

 Weapons of Mass Destruction threats within the Eastern Panhandle of West Virginia. During my

 time as an FBI Special Agent, I have worked a variety of investigations, including investigations

 of counterterrorism, domestic terrorism, white-collar crimes, crimes against children and violent

 gang offenses.



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        8.      The facts in this affidavit come from my personal investigation and observatiOns,

 my training and experience, and information obtained from other agents and witnesses. This

 affidavit is intended to show simply that there is sufficient probable cause for this Criminal

 Complaint and the requested arrest warrant and does not set forth all of my knowledge about this

 matter. I have set forth only the facts I believe are necessary to establish probable cause that

 Timothy John Watson has violated 18 U.S.C.    § 371,   18 U.S.C.   § 922(o), and 26 U.S.C. § 5861(a).
                                       PROBABLE CAUSE

        9.      As detailed below, the FBI’s investigation, assisted by the ATF and the U.S. Postal

 Inspection Service, has revealed that Timothy John WATSON, hereinafter “WATSON,” a resident

 of Ranson, West Virginia, is the registrant of the website named “portablewallhanger.com.” Since

 at least in or about March 2020, the online retailer, “portablewallhanger.com,” purports to sell 3D

 printed innocuous hooks, made with two pieces, however, when disassembled, one of the pieces

 functions as an illegal drop in auto sear which has been confirmed by ATF to convert a semi

 automatic AR-iS into a fully-automatic machine gun. WATSON operates the business from the

 his residence located at 302 South Marshall Street, Apartment 2, Ranson, West Virginia 25438,

 hereinafter “WATSON’s residence.”

                Boogaloo Movement’s Association with Portable Wall Han2er

        10.     Multiple items of evidence associate the business of Portable Wall Hanger with the

 Boogaloo movement, a loosely organized far-right, anti-government, and extremist political

 movement in the United States. Boogaloo adherents say they are preparing for, or seek to incite,




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  a second American Civil War, which they call the Boogaloo.’ The movement consists of pro-gun,

  anti-government groups. The specific ideology of each group varies and views on topics such as

  race differ widely.   The Boogaloo movement primarily organizes online and participants have

  appeared at in-person events including the 2020 United States anti-lockdown protests and the

  George Floyd protests. Heavily armed, Boogaloo members are often identified by their attire of

 Hawaiian shirts and military fatigues. Since 2019, at least 12 people affiliated with the Boogaloo

 movement have been charged with crimes, including the killing of a Federal courthouse security

 guard in May 2020, the killing of a California law enforcement officer in June 2020 and various

 crimes related to the George Floyd protests.

             a. In May 2020, Steven CARRILLO, hereinafter “CARRILLO,” a self-described

                 Boogaloo adherent shot two Protective Security Officers at the Ronald V. Dellums

                 Federal Building and United States Courthouse located in Oakland, California. One




    “Boogaloo” is a term referencing a violent uprising or impending civil war. The term is
 sometimes used by militia extremists and racially or ethnically motivated violent extremists
 (RMVE), who allude to it using shorthand such as “big igloo” or “big luau” and imagery such as
 igloos or Hawaiian shirts. The term has particularly resonated with militia extremists, who have
 adopted it to reference an impending politically-motivated civil war or uprising against the
 government following perceived incursions on Constitutional rights—including the Second
 Amendment—or other perceived government overreach. Some RMVEs have used the term to
 reference an impending race war—or other conflict that will lead to the collapse of the “system,”
 including the US government, society, etc. The Boogaloo is not a single cohesive group, but rather
 a loose concept arising from internet platforms which has become a rallying point for some
 extremists.



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                   of the security officers died of his gunshot wounds; the other sustained serious

                   injuries that required surgery.

                b. In June 2020, CARRILLO, shot members ofthe Santa Cruz County Sheriff’s Office

                   near his (CARRILLO’s) residence located at 120 Waldeberg Rd., Ben Lomond,

                   CA 95005. One deputy subsequently died from his injuries.

          11.      The first item of evidence associating the business of Portable Wall Hanger with

 the Boogaloo movement can be found on the “Updates” webpage on portablewallhanger.com.

 That page includes a March 18, 2020 advertisement that “10% of all Portable Wall Hanger

 proceeds for March 2020 will be: donated directly to the Justice for Duncan Lemp2 GoFundMe

 fundraiser.” (emphasis in original). The investigation has revealed that on at least three different

 dates (on or about March 18, 2020, on or about April 13, 2020, and on or about April 20, 2020),

 “Portable Wall Hanger” made a donation to the Justice for Duncan Lemp GoFundMe fundraiser

 in the amount of $100 per donation (at least $300 total). Content from the e-mail address

 “portablewallhanger~mail.com,” which has been attributed to WATSON, shows the donation

 receipts sent via e-mail from suppport~gofundme.com for the aforementioned donations.

          12.      The second item of evidence associating the business of Portable Wall Hanger with

 the Boogaloo movement came from the proffer of a cooperating defendant under indictment in the

 U.S. District of Minnesota (the “cooperating defendant”), described in detail below. Specifically,




 2   By way of background, on March 12, 2020, Duncan Lemp was fatally shot at his home in
 Potomac, Maryland during a no-knock warrant execution. The warrant had been issued following
 an investigation that revealed Lemp was in possession of regulated firearms. Police have said that
 Lemp was shot after confronting an officer during the execution of the warrant. Three assault
 rifles and two handguns were recovered from the residence. Lemp has since been described as a
 “martyr” for the Boogaloo movement, some adherents to which believe Lemp was murdered by
 police because of his involvement with the movement and his anti-government beliefs.
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 the cooperating defendant, a self-professed adherent of the Boogaloo movement, told the FBI that

 he had learned about portablewallhanger.com from advertising on Facebook Boogaloo groups.

        13.      Several other items of evidence are outlined below in the sections discussing the

 search warrant returns for e-mail and Instagram accounts associated with portablewallhanger.com.

                Watson Establishes the Online Business of Portable Wall Hanger

        14.      In January 2020, the e-mail and Instagram accounts were created that would

 subsequently     be   made      accessible   at   the   bottom   of each      page     of the    website

 portablewallhanger.com.

              a. On January 2, 2020, the e-mail account portab1ewallhanger~mail.com was created

                 in the name of “Wall Hanger.”

              b. On    January      16,   2020,    the   Instagram   account     with    the     username

                 @Portable_Wall_Hanger was registered in the name of “Portable Wall Hanger”

                 with a registered e-mail address of portablewa1lhanger~mai1.com.

        15.      In January 2020 and March 2020, PayPal accounts were created that would

 subsequently be used to receive payments for products sold on portablewallhanger.com.

              a. On January 2, 2020, PayPal account 1356804870709659874 in the name of Wall

                 Hanger, business name Portable Wall Hanger, was created with Watson’s residence

                 as the associated address and portablewallhanger~mail.com as associated email

                 address. This account included an associated work telephone number of (240) 675-

                 6070, which open source records associate with Timothy John Watson and

                 Watson’s residence. Review of transaction records provided by PayPal Global

                 investigations revealed in excess of 100 transactions during the period of January

                 8, 2020, through March 19, 2020. The subject of these transactions reflected

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                 purchases of the following items: Portable Wall Hanger          -   Single; Portable Wall

                 Hanger   —   Family Size; or Replacement Hanger Hook.

              b. On March 20, 2020, PayPal account 1904111253734225865 in the name of

                 Timothy Watson, date of birth January 13, 1990, business name Portable Wall

                 Hanger, was created with Watson’s residence as the associated address and

                 sales.portab1ewalIhanger~mail.com and portablewallhanger~protonmail.com as

                the associated e-mail addresses.         This account included an associated work

                telephone number of (240) 675-6070. Review of transaction records provided by

                PayPal Global investigations revealed in excess of 500 transactions during the

                period of March 21, 2020, through October 2, 2020.                   The subject of these

                transactions reflected purchases of the following items: Black Coat Hanger Pack;

                Grey Coat Hanger Pack; Red Coat Hanger Packs; Portable Mask Hanger; Portable

                Wall Hanger      —   Single; Portable Wall Hanger   —   Single Pack; Replacement Hanger

                Hook; or Replacement Hanger Hook         —   Red Coat Hanger.

        16.     On February 28, 2020, the portablewallhanger~mai1.com account received an e

 mail from the West Virginia State Treasurer’s Office related to the fee associated with the new

 business registration completed online through the West Virginia Secretary of State’s One Stop

 Business Portal. The receipt lists the company name as “Portable Wall Hanger,” the name as

 “Timothy Watson,” the associated address as WATSON’s residence, the associated phone number

 as (240) 670-6070 (one digit off from the (240) 675-6070 number), the associated e-mail address

 as portablewallhanger~mail.com, and the name ofthe holder ofthe Visa card used for the payment

 as “Timothy Watson.”

        17.     On March 26, 2020, an account with Stamps.com, an American company that

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 provides Internet-based mailing and shipping services, was opened in the name of Timothy

 Watson. The account lists WATSON’s residence as the billing address and physical address. The

 account also includes the company name of Portable Wall Hanger, the e-mail address of

 portablewallhanger~protonmail.com, and the telephone number (240) 675-6070. According to

 Stamps.com records, approximately 362 shipments have been made using the account between

 April 30, 2020, and August 25, 2020 to addresses in approximately 46 states, using WATSON’s

 residence as the return address.

        18.     In or about March 2020, a website named portablewallhanger.com was registered

 through Weebly, Inc., a web hosting service headquartered in San Francisco, California.

 According to Web.com, a company headquartered in Jacksonville, Florida that provides domain

 registration and web development services, the website registration details include a name, an

 address, a telephone number, and e-mail addresses for registration, administration, and technical

 purposes. “Tim Watson” is the name provided on Web.com’s website registration for registration,

 administration, and technical purposes.     The address for all three purposes is WATSON’s

 residence. The phone number for all three “purposes” is (240) 675-6070. The e-mail address for

 registration and technical purposes is portablewa1lhanger~protonmail.com. The e-mail address

 for administration purposes is portablewallhanger~mail.com. According to e-mail messages

 obtained via a search warrant issued for this latter e-mail account, Watson had operated a

 predecessor website portablewallhanger.simplesite.com since in or about January 2020 but that

 business was subsequently moved to portablewallhanger.com in or about March 2020.

        19.     According to e-mail correspondence found in the portablewallhanger~mail.com

 account,     Portable      Wall    Hanger       opened      an     e-mail     account     called

 portablewallhanger~protonmail.com as part of the migration to portablewallhanger.com.

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  ProtonMail is an end-to-end encrypted e-mail service founded in 2013 in Geneva, Switzerland.

  ProtonMail is not obliged to store specific data of their customers, but must, at the request of Swiss

  authorities, release the data they have at their disposal. It is well known and part of ProtonMail’ s

  business model that not much data is stored but could include data such as registration date and

  time, date and time of last activity, if available IP address used, recovery e-mail address, and

  payment information associated with the account. As indicated below, this e-mail account was

  subsequently listed on portablewallhanger.com with the message: “We take your privacy seriously,

  please feel free to reach out to us at portablewallhanger~protonmail.com with any questions.”

           20.     Based on training and experience, your Affiant knows that nefarious actors

  involved in criminal activity oftentimes use end-to-end encryption communication methods, to

  include platforms such as ProtonMail, in order to protect privacy and to remain anonymous to

  avoid any type of law enforcement detection.

                 FBI San Francisco Subject with Connection to Portable Wall Hanger

           21.     PayPal transaction logs for account 1356804870709659874 includes one purchase

  made by a customer who provided the name “Steven Carrillo” as the purchaser’s name, an e-mail

  address of stevencarrillonr~gmail.com, and a Winters, CA shipping address. PayPal account

  1356804870709659874 records indicate that this individual purchased a “Portable Wall Hanger         —




  Single” between on or about January 10, 2020 and or about January 13, 2020.                      The

  portablewallhanger@mail.com account contains an e-mail dated January 10, 2020, which

  informed Portable Wall Hanger that “Steven Carrillo” had placed an order for a “Portable Wall

  Hanger   —   Single.” The e-mail lists 120 Waldeberg Rd., Ben Lomond, California 95005, as the

 billing address of the purchaser. As stated above, 120 Waldeberg Rd., Ben Lomond, California

  95005 is near where CARRJLLO shot members of the Santa Cruz County Sheriff’s Office in June

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  2020.         The        billing    information         also         lists   an        e-mail        address    of

  stevencarrillousaf~gmail.com. CARRILLO, who carried out the shootings in May and June

  2020, was a member of the U.S. Air Force, also known as “USAF,” as is included in the e-mail

  address.

   FBI-Minneapolis Subject Purchases Auto Sears from Portable Wall Hanger and Provides
                                   Post-Arrest Proffer

          22.         In a post-arrest proffer of an FBI-Minneapolis investigation subject (hereafter the

  “subject” and, later, the “cooperating defendant”), the subject stated that he ordered four 3D

  printed drop in auto sears from portablewallhanger.com using money provided to him by an

  undercover agent, whom he believed was a high-level member of a designated foreign terrorist

  organization for the purpose of converting a semi-automatic rifles to a fully automatic rifle. The

  subject completed the purchase on the portablewallhaner.com website using PayPal. PayPal

  records for the Paypal account 1904111253734225865 show a purchase made on or about August

  24, 2020 by the subject to be shipped to a “Mike Smith at 720 Mccallum Drive, New Brighton,

  MN 55112.”

          23.         Account records for the aforementioned Stamps.com associated with WATSON

  show a generated postage label on or about August 25, 2020 for a “Mike Smith at 720 Mccallum

  Drive, St. Paul, MN 55112”. Also, according to the record, the return address associated with the

  postage label was WATSON’s residence.

          24.         On    or   about   August     28,        2020,     the   subject    sent    an     e-mail   to

  portab1ewa1lhanger~protonmail.com. The subject stated that he had placed his order on August

  24 and ‘just wanted to make sure it shipped and wondering if there’s an ETA for arrival.”

          25.     On or about August 28, 2020, the subject received a reply e-mail from


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   portablewallhanger@protonmail.com. The sender informed the subject that his order had shipped

   on August 25 and indicated that his tracking number e-mail may have gone to spam. The sender

   concluded the e-mail with “Best Regards, T. ~ Portable Wall Hanger.”

          26.    On August 29, 2020, after receiving his shipment, the subject sent an e-mail to

  portablewallhanger~protonmail.com, stating in whole:

          Hey so I’m trying to install these key hooks on my wall and I’m having a lot of
          difficulties... I took off a small square tab on the side and that helped~ but I can
          seem to get this to sit right on my wall. Do I need to make any more modUlcations
          to install this on my wall?
          27.    On or about August 29, 2020, the subject received a reply e-mail from

  portablewallhanger~protonmail.com, stating in whole:

         We ‘re glad to hear your order arrived and we ‘re sorry to hear that you ‘re having
         trouble mounting your new Portable Wall Hanger products.

         **There is never any reason to modify the geometry ofyour Portable Wall Hanger
         products. * *

         Both Coat Hanger Packs and Portable Mask Hangers come pre assembled and
         ready to mount on your wall (using the provided mounting screws), or on your
         vehicle AC vent (depending on which product you got.)

         Ifyou think you may have received a factory defective item, we will certainly get
         you some replacements shipped out Monday!
         Just let us know ~f we should ship to the same address as your initial order.

         Best Regards,
         T @ Portable Wall Hanger

         28.     On    or   about   August    29,        2020,   the   subject   sent   an   e-mail   to

  portablewallhanger~protonmail.com, stating in whole:

         No matter what I’ve tried I cannot get my key hook to mount correctly, it keeps
         blocking my doorfrom opening when Ipull it open.

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          29.    On or about August 29, 2020, the subject received a reply e-mail from

  portablewallhanger~protonmail.com, stating in whole:

         In this case it sounds like you may want to consider mounting your Portable Wall
         Hanger productsfarther awayfrom your door. We will send out another duplicate
         order for you free ofcharge. Ifyou did infact receive afactory defective order we
         want to be sure you ‘re happy with your purchase! Ifit turns out that mounting your
         Portable Wall Hanger products in a different location in your house solves the
         issue, you ‘11 have some extra Portable Wall Hanger goodies to gift to some friends.
         We will personally send you your tracking # as soon as your order ships out so it
         dosn ‘t [sic] get lost in the dot come sauce again. Thank youfor your business and
         patience, we really apologize for the inconvenience.

         Best regards,
         T @ Portable Wall Hanger

         30.     On    or   about    August    29,        2020,   the   subject   sent   an   e-mail   to

  portablewallhanger~protonmai1.com, stating in whole:

         And could Iget them overnighted? It’s time sensitive and I really need to get these
         keys hung, I’ll payfor the extra shipping.

         31.     On or about August 29, 2020, the subject received a reply e-mail from

  portablewallhanger~protonmail.com, stating in whole:

         At this time we only utilize USPS so the earliest we can ship out when they open up
         (Monday morning). Rest assured your replacement order is at the top of the list
         thoughfriend We will give you a shout as soon as you order ships Monday morn.

         Best Regards,
         T @ Portable Wall Hanger

         32.     Based on training and experience, your Affiant believes that the above conversation

  uses “code” language when discussing Portable Wall Hanger products. Your Affiant believes that

  the above references to “install these key hooks,” refers to mounting the drop in auto sear into an

  AR- 15. Your Affiant believes the above reference to “cannot get my key hook to mount correctly,

  it keeps blocking my door,” refers to the buyer being unable to mount the drop in auto sear into an


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  AR- 15 correctly. Your Affiant believes the above reference to “need to get these keys hung,”

  refers to having the capability to fire multiple rounds from a fully automatic weapon.

          33.    On or about August 29, 2020, the subject met in person with a group of individuals,

  including the undercover agent, whom he believed to be a high-level member of a designated

  foreign terrorist organization, who had requested that the subject purchase auto sear devices. The

  meeting was audio recorded. According to the audio recording, the subject made the following

  statements, among others, referring to the Portable Wall Hanger products he had ordered on

  August 24:

         So these are the pieces that we were talking about so you take out this alien screw
         because technically they are wall hangers. So you screw it into the wall, but so you
         take out this allen screw. Take this piece out and then you mount it so you undo the
         AR and then you mount it behind the trigger group.



         Yeah so I modUled two of them so depending on the type ofAR they need to be a
         little bit djfferent so I modjiled two ofthem and then two ofthem are stock.



          I’ve got them sending more too urn so when I threw this in my rifle urn it was
         jamming a little bit when I tried to pull the bolt carrier back so I told them that and
          their like hey it might ‘ye been afactory de- ya know defect like ya know sometimes
          the 3dprinters are a little bit offso they are actually sending me another batch out
          on Monday.



         Yeah they use a computer and then a 3D printer to make these.

         34.     On or about August 29, 2020, at the end of the meeting, the subject provided one

  of the auto sears he had purchased from Portable Wall Hanger to the undercover agent and kept

  the remaining three. Investigation has revealed that the subject, when troubleshoot e-mailing back

  and forth with portablewalIhanger~protonmail.com, was meeting in person with individuals,

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   including an undercover agent, whom he believed to be a high-level member of a designated

  foreign terrorist organization. This shows that the subject was in fact using “code” language with

  portablewallhanger@protonmail.com, when talking about the Portable Wall Hanger products he

  had purchased.

           35.     Account records for a Paypal PostPay account associated with WATSON show a

  generated postage label on or about August 3 1, 2020 for a “Mike Smith at 720 Mccallum Drive,

  St. Paul, MN 55112”. Also, according to the record, the return address associated with the postage

  label was 302 5 Marhall (sic) St 2 Ranson WV 25438. But for the apparent typographical error,

  this address matches the address of the WATSON’s residence.

           36.     On or about August 31, 2020, the subject received an e-mail from

  service@paypal.com stating “Your package from Portable Wall Hanger is on its way” and the e

  mail provided a U.S. Postal Service tracking number. On or about September 1, 2020, the subject

  received an e-mail from portablewallhanger~protonmai1.com, stating “Your replacement order

  shipped out yesterday.” The sender also included the USPS tracking number and concluded the

  e-mail “Best Regards, T.   @ Portable Wall Hanger.”
           37.    On or about September 3, 2020, the FBI arrested the subject for violations of 18

  U.S.C.   § 2339B, which prohibits conspiring to provide or attempting to provide material support
  or resources to a designated foreign terrorist organization. On or about the same date, the FBI

  conducted a Mirandized custodial interview of the subject at an FBI-Minneapolis office located in

  Brooklyn Center, Minnesota. The interviewing agent showed the subject a photograph of one of

  the Portable Wall Hanger products and asked him to identif~’ the object depicted. The subject said

  the item was a “key hanger.”        The subject admitted that he had purchased the item at

  portablewallhanger.com in the last couple of weeks. The subject stated that the item was delivered

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  to his residence. At first, the subject denied any knowledge that the item could be used for any

  other purpose. The subject subsequently acknowledged that the item had other uses but stated that

  he had never modified a semiautomatic rifle to make it an automatic rifle. Shortly thereafter, the

  subject invoked his right to counsel and the interview was discontinued.

           38.        On or about September 8, 2020, having obtained from a U.S. Postal Inspector the

  second Portable Wall Hangers package sent to the subject, the FBI in Minneapolis searched the

  package pursuant to a search warrant issued in the United States District Court for the District of

  Minnesota on September 4, 2020. Inside the package, the FBI found four “Possible drop in Auto

  Sears.” The package had a return shipping address of Portable Wall Hangers 302 5 Marhall (sic)

  St 2 Ranson WV 25438-1774. As previously stated, but for the apparent typographical error, this

  address matches the address of WATSON’s residence.

           39.        On or about September 11, 2020, the FBI in Minneapolis conducted an open source

  check of the website portablewallhangers.com and noted the following information, among other

  items:

                 a. An area to provide an email to join a mailing list.

                 b. Products for sale listed as: Portable Mask Hanger (low in stock), Grey Coat Hanger

                      Pack, and the Red Coat Hanger. All $14.99.

                 c. 10% of all Portable Wall Hanger proceeds for March 2020 will be donated directly

                      to the Justice for Duncan Lemp GoFund Me fundraiser.

                 d. The website provides tracking numbers for shipments.

                 e. The business is located in “Wild and Wonderful West Virginia.”

                 f.   The Red and Black portable wall hanger products share the same physical

                      properties and are high impact and heat resistant PETG (open source research

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                    suggests PETG could stand for polyethylene terephthalate glycol plastic used in 3D

                    printing).

               g. The business uses the “latest FDM 3D Printing technology available to attain an

                    extremely robust and resiliant (sic) final product. Portable Wall Hangers are very

                    tough.”

               h. Assurances to not share or sell any of a customer’s information under any

                    circumstance.

               i.   All transactions through PayPal.

               j.   An animation showing how the wall hangers work.

               k. A statement that the business does not care what name is used to place the order.

               1.   An email contact address as portablewallhanger~protonmai1.com.

         40.        In addition, the website hyperlinks to portablewallhanger@mail.com and an

  Instagram account with the username ~PortabIe_Wall_Hanger on each page of the website.

         41.        On or about September 15, 2020, FBI agents interviewed the subject referenced

  above (hereinafter “cooperating defendant”) pursuant to a proffer letter at the U.S. Attorney’s

  Office in Minneapolis, Minnesota. The cooperating defendant provided the following information:

               a. The agents again showed the cooperating defendant a photograph of a Portable

                    Wall Hanger product he had ordered. The cooperating defendant identified the item

                    as a drop in auto sear that he ordered from portablewallhanger.com.

               b. The cooperating defendant stated that the auto sear is a 3D printed piece of plastic

                    that is used to convert a semi-automatic rifle to a fully automatic rifle.

               c. When the cooperating defendant received the package of drop in auto sears from

                    portablewallhanger.com, he used the contents in the package on his own ArmaLite

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               SPR rifle, which he assumed had since been seized by agents from his residence.

               The cooperating defendant said he function tested the rifle but was not sure that the

               auto sear was working correctly because it was not cycling how a fully automatic

               weapon would cycle.

           d. The cooperating defendant said he had never previously purchased a 3D printed

              drop in auto sear from portablewallhanger.com but knew about the site from

              advertising on Facebook Boogaloo groups. The cooperating defendant said the

              website     originally    started    as    a    “simple     site”    before    becoming

              portablewallhanger.com in approximately March 2020.                 The advertising in

              Boogaloo groups done by other users showed the drop in auto sears as “wall hooks,”

              however, everyone in the Boogaloo groups knew that the pieces were in fact drop

              in auto sears based upon context clues in discussions about fully automatic

              weapons. The cooperating defendant said he believed the drop in auto sears were

              called “wall hooks” and sold as “wall hooks” because he assumed it was illegal to

              even possess the 3D printed drop in auto sears.

           e. The cooperating defendant stated that the 3D printed drop in auto sear from Portable

              Wall Hanger comes as two pieces: 1) a hook and 2) a bracket with screws or other

              materials to attach the bracket to the wall. According to the cooperating defendant,

              the hook is the part that is inserted into the rifle to convert it to fully automatic. The

              bracket is not inserted into the rifle. Rather, it is a fake or show piece to continue

              the façade that the set is a “wall hook.” The cooperating defendant said he knew

              what the wall hangers were for because there were often advertisement pictures on

              Facebook without the bracket.

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          42.      On or about September 16, 2020, the ATF installed one of the Portable Wall Hanger

  products sent to the subject/cooperating defendant into a host ATF exemplar Colt AR- 15 rifle.

  The fitting process was accomplished within approximately 15 minutes. The ATF then fired five

  rounds of ammunition from the firearm with the device installed. The firearm fired all five

  cartridges automatically with a single function of the trigger, thereby confirming the fact that the

  device from Portable Wall Hanger functioned as a drop in auto sear.

         43.       On or about October 5, 2020, the FBI in Minneapolis conducted a physical review

  of the subject’s/cooperating defendant’s iPhone and ProtonMail account pursuant to a search

  warrant issued in the United States District Court for the District of Minnesota on September 11,

  2020. Pursuant to this search, the FBI located and took photographs of the e-mails quoted above.

      Comcast Records Reveal High-Speed Internet Connection at WATSON’s Residence
                   Utilized to Connect to Portable Wall Hanger Accounts

         44.       Comcast account records show that high-speed internet service is provided to the

  WATSON’s residence and has been since July 2018. Comcast records show that this service is

  still active at WATSON’s residence as of October 19, 2020. The subscriber named on the account

  is listed as Emily CROSS, hereafter “CROSS,” the known girlfriend of WATSON. Comcast

  records also include an IP History log associated with the account. Specifically, this log includes

  the IP address 73.133.140.236, which was assigned (Lease Grant) to WATSON’s residence

  account from at least April 22, 2020, through on or about October 19, 2020.

                a. Pen Register/Trap and Trace records for the Instagram account associated with

                   Instagram user name Portable_Wall_Hanger show a login on or about October 9,

                   2020 from IP address 73.133.140.236, an IP address associated with the Comcast

                   account subscribed to CROSS, WATSON’s known girlfriend at WATSON’s


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                  residence address.

               b. PayPal account 1904111253734225865 Activity Log records associated with

                  WATSON,         Portable     Wall      Hanger,      and      e-mail       addresses

                  sa1es.portablewal1hanger~mail.com     and   portablewallhanger@protonmail.com

                  show a login on or about October 6, 2020 from IP address 73.133.140.236, an IP

                  address associated with the Comcast account subscribed to CROSS, WATSON’s

                  known girlfriend at WATSON’s residence address.

    Records portablewallhanger~mail.com Account Include Communications Containing
    Veiled References to Boogaloo and Knowledge that “Hangers” are Drop In Auto Sears

         45.      On or about October 23, 2020, 1 & 1 IONOS Inc. produced records for

  portablewallhanger~mail.com (the “account”) pursuant to a search warrant issued in the U.S.

  District Court for the Northern District of West Virginia on or about October 22, 2020.

         46.      The account contains e-mails with veiled references to Boogaloo.

               a. On or about February 26, 2020, a customer with an e-mail address containing the

                  word “centermass” asked:

         Do you guys keep records ofthe hangers you sell and information on the customers
         you sell them to? I’m worried about mypaypal info being stolen or something bad
         happening to my dog, jfyour business is compromised.

                  Based on training and experience, your Affiant knows that the mention of a dog

         being harmed is a veiled reference to the aforementioned Duncan Lemp incident. The user

         of the account responded:

         All records are private information and are never sold or shared.
         Allpayment transactions are handled through paypal so your billing address never
         goes in our system (unless it~s synonymous with your shzpping address, in which
         case it still would remain private)

         All Portable Wall Hanger products are just that, Portable Wall Hangers. Portable

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         Wall Hangers are designed specifically to provide a convenient location to hang
         your keys or other light weight items. Unless your dog is opposed to your keys being
         in one spot, or ~fyour dog is hypoallergenic to PETG plastic, I don’t see why you
         would have anything to worry about.

         Best Regards,
         T @ Portable Wall Hanger

               b. On or about March 21, 2020, the user of the account sent an e-mail addressing a

                  customer as “Sir Boogie” and ending the e-mail “Best Regards, T. ~ Portable Wall

                  Hanger.” The term “Boogie” is a reference to Boogaloo.

               c. The account contains an e-mail sent from the user of the account on or about April

                  18, 2020, to a customer to address an “unfortunate slanderous post” that Portable

                  Wall Hanger was an FBI sting operation. The user of the account offered to cancel

                  the customer’s order, but stated:

         Please know this however Jam working really damn hardfor you fine people. I
         mean like 12 hour shifts no breaks for sunday [sic] hard I do it because I believe
         that you as freedom loving red blooded folks deserve a convenient and reliable
         solution to keep your keys, lanyards, jackets and light coats in a known location.



         Best Regards,
         T @ Portable Wall Hanger

                  Based on training and experience, your Affiant believes that the use of the phrase

         “freedom loving red blooded folks” is an attempt to signal to the customer that Portable

         Wall Hanger is not an FBI sting but a business with a purpose of advancing the Boogaloo

         movement.

         47.      The account contains an e-mail received on or about March 15, 2020, from a

  customer who asked: “How many ‘keys’ does it roughly take before one breaks.” The user of the

  account replied:

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          All Portable Wall Hanger products are made from heat and impact resistant PETG
          so they’re certainly pretty tough. We haven ‘t performed testing to see how many
          tines [sic] a set of keys can be hung on a Portable Wall Hanger before failure
          occurs, but I’m sure it would be a pretty high number!

          48.      The user of the account did not comment on the customer’s use of quotations

   around the word “keys.” Based on training and experience, your Affiant believes that, when the

   customer asked “How many ‘keys’ does it roughly take before one breaks,” the customer is

   speaking in “code” because of the knowledge that drop in auto sears are illegal without the proper

  licensing and certifications.    Your Affiant believes that the customer was asking, via “code

  language, how many rounds of ammunition can the drop in auto sear takes until it breaks.

  According to open source records, PETG is a thermoplastic polyester that provides significant

  chemical resistance, durability, and excellent formability for manufacturing, especially consumer

  and commercial applications that involve 3D printing.

          49.      The account contains an e-mail sent from a customer on April 25, 2020, stating:

   “Cant [sic] wait to [sic] my care keys to go BRRRRRR.” The user of the account did not respond

  to this statement from the customer. Based on training and experience, your Affiant believes that

  the “BRRRRRR” reference above refers to the sound an automatic rifle makes when firing

  numerous rounds in a short amount of time.

          50.      The account contains additional “troubleshooting” e-mail communications similar

  to those between portablewallhanger~protonmail.com and the Minneapolis subject as mentioned

  above. Below are some examples:

                a. On or about March 9, 2020, one customer said: “I’m having a problem mounting

                   it into the lower part of my wall and I’m not sure   ~f I’m doing it right because it’s
                  just not fitting the way I planed [sicj” The user of the account directed the


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                   customer to a “new installation animation video” on the website.

               b. On or about April 9, 2020, another customer said of the product: “I have had to

                   Mod~ it to work better with walls/shei~f’s [sic] that are NOT low.” The user of the

                   account offered to send the customer a replacement or a different product. Based

                   on training and experience, your Affiant believes that the reference to “walls/shelf’s

                   that are not LOW” is a reference to different types of firearm receivers in the area

                   of the firearm where the drop in auto sear is placed.

               c. On or about April 10, 2020, another customer said: “First off I’m not afed or LEO.

                   I know.. exactly what one would say. But Ijust got your wall hanger in the mail,

                   but I can ‘t quite figure out how to ‘hang it on my wall’ so I can ‘grab my keys a lot

                   quicker. ‘Do you have any resources to show a customer how its [sic] used?” The

                  user of the account directed the customer to a “new installation animation video”

                   on the website. The user of the account did not comment on the subject’s use of

                  quotations around the phrases “hang it on my wall” or “grab my keys a lot quicker.”

                  Based on training and experience, when the customer asks how to “hang it on my

                  wall’ so I can ‘grab my keys a lot quicker,   “   the customer is, in fact, asking through

                  “code” language how to install the drop in auto sear so that he can fire rounds of

                  ammunition quicker.

         51.      The account contains e-mails with photographs attached by the user of the account.

  Below are descriptions of some of the e-mails:

               a. On or about February 15, 2020, the user of the account sent an e-mail to a customer.

                  The e-mail had a .jpg file attached comprised of a photograph of an “Enhanced

                  Portable Wall Hanger kit.”       The properties of the .jpg file indicate that the

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                  photograph was taken on or about February 13, 2020, with a Samsung Galaxy S9

                  SM-G960U cell phone.

               b. On or about April 11, 2020, the account received an e-mail from the account with

                  one .jpg file attached depicting a “wall hanger.” The properties of the .jpg file

                  indicate that the photograph was taken on or about April 11, 2020, with a Samsung

                  Galaxy S9 SM-G960U cell phone.

               c. On or about April 15, 2020, the account received an e-mail from the account with

                  three .jpg files attached depicting “wall hangers.” The properties of the .jpg files

                  indicate that the photographs were taken on or about April 11 and 12, 2020, with a

                  Samsung Galaxy S9 SM-G960U cell phone.

                  Based on the above referenced photographs and the device used to take the

         photographs, your Affiant believes that WATSON used a Samsung S9 mobile device to

         take the photographs.

      Records for Portable Wall Hanger Instagram Account Include Communications
    Containing Veiled References to Boogaloo and Knowledge that “Hangers” are Drop In
                                        Auto Sears

         52.      On or about October 23, 2020, Facebook Inc. produced records for the Instagram

  account with username ~Portab1e_Wall_Hanger pursuant to a search warrant issued in the U.S.

  District Court for the Northern District of West Virginia on or about October 22, 2020. The records

  include messages sent and received between January 2020 and October 2020, as well as media

  uploads during that period.

         53.      The Instagram account records contain messages between the Portable Wall Hanger

  user and users with usernames containing “boi” or “bois.” Based on training and experience, your

  Affiant knows that certain terms are associated with the Boogaloo ideology, specifically the use

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   of “boi” or “bios.” One of the usernames that communicated with the Portable_wall_Hanger

   Instagram account is “Duncan Socrates Lemp,” an explicit reference to Duncan Lemp, previously

   mentioned above. At one point during this period, user “Duncan Socrates Lemp” made a comment

   that the Portable Wall Hanger products “only work in armalite Walls.” By way of background,

   ArmaLite is known to be an American small arms engineering company. Another username,

   “booglordinc,” sent a message expressing a hope that the Portable Wall Hanger Products are

   “sturdy” and made the following comment: “I don’t mind seeing redcoats lying on the floor, but

  prefer to leave em properly hanging #twitchygurglythings.” Based on training and experience,

  your Affiant believes the mention of “redcoat” is an anti-government reference as it refers to the

  British “Redcoats” during the American Revolutionary war.

              54.    Portable_Wall_Hanger Instagram account records contain a message posted by the

  Portable Wall Hanger user that included the following hashtag: “#wearduncan,” another reference

  to Duncan Lemp.

              55.   Portable_Wall_Hanger Instagram account records contain messages wherein the

  user ofthe account states that the Portable Wall Hanger products are “heat resistant.” For example,

  a message from a customer stating: “I’ve heard other companies [sic] hangers only hold 5-6 sets

  of keys. I’m hoping these are stronger           “    The Portable Wall Hanger user responded: “all

  Portable Wall Hanger products are constructedfrom heat resistant PETG. They ‘re certainly very

  tough.” Based on training and experience, your Affiant believes that the above statements are

  using “code” language to speak to the strength and heat resistant qualities of a drop in auto sear.

              56.   Portable_Wall_Hanger Instagram account records contain a message wherein a

  customer asked if the Portable Wall Hanger products “work on ‘low sheV’ walls as well as ‘high

  sheif   “    Based on training and experience, your Affiant believes that the use of the terms “low

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  shelf’ and “high shelf’ are references to different types of firearm receivers in the area of the

  firearm where the drop in auto sear is placed.

         57.      Portable_Wall_Hanger Instagram account records contain a message wherein a

  customer asked if the Portable Wall Hanger products work on a “ChekleZivocian scorpion wall.”

  Based on training and experience, your Affiant believes that the mention of “scorpion” is a

  reference to a semi-automatic firearm manufactured by ~eská zbrojovka Uhersk~ Brod called

  “Scorpion.”

         58.      Portable_Wall_Hanger Instagram account records contain messages discussing

  whether Portable Wall Hanger is an FBI sting operation. Below are examples:

               a. An individual sent the following message to the user of the account:

         Hey ~portable_wall hanger I love the product, but I had afew questions for you.
         I was scrolling through your website when I noticed that the company your website
         belongs to, Perfect Privacy LLC, is foreign registered and basic info as to who
         owns the actual website has been restricted Upon further digging, I happened to
         notice that the address to Perfect Privacy LLC is also 5335 gateway park
         Jacksonville Florida. That address is conveniently only 1300feetfrom the FBIfield
         office and within the same chain link fence compound. Isn’t that peculiar? It’s
         almost as ~fyou boys are an FBI/A TF sting operation to catch people stupid enough
         to buy an obvious AR auto sear offa suspicious website with no privacy policy or
         additional merchandise other than this wall hanger.

               b. Another individual responded in defense of Portable Wall Hanger:

         [Iffyou knew anything about amateur Web design (which you evidently don ‘t) you’d
         know that it has all the hallmarks ofan average, legitimate small business. Perfect
        privacy is used by small businesses pretty often. Usually fed operations are more
        polished and ‘~professional” looking. But this isn’t, this is all set up (with many of
         the common “mistakes ‘9 in the common ways that small businesses do things. But
         ~fyou knew anything about Web design you’d know that. But you don ‘t. You’re just
        jumping on a bandwagon started by a couple ofprinciple-less sticker salesmen who
        profit offoflosing liberty andpeople being murdered But then attack anybody who
        fights back in their own way.

               c. This same individual also commented:


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                   “I mean we ‘re all on a watch list already anyhow so what’s the harm.”

               d. A third individual with Boogaloo term “boi” in the account usemame replied to the

                  defensive individual and stated the following:

                   “ignorance is bliss until the pigs kill your dog” (another reference to the Duncan

                  Lemp incident).

               e. The defensive individual responded with multiple Boogaloo references:

         I mean you’re a bunch of cucks who profit off boog memes by selling stickers and
         shit, profited off ofLemp ~ murder. You~re all about “supporting” the boog when
         it makes you money. But as soon as somebody else actually stands up and does
         something in any form, you freak if out and scream and cry “Extremist! Fed!
         Rheeeee.”

         59.      Portable_wall_Hanger Instagram account records contain a message from the

  Portable Wall Hanger user addressing web security following allegations that the company was an

  FBI sting:

         Your assessment of our web design capabilities are spot on and slightly
         embarrassing lol. We of course set up the website with customer privacy in mind
         but it looks like some rookie mistakes will always happen ~ ~ As soon as we
         got grilleci~ I dug through every menu attached to weebly settings, for what it’c
         worth there was (and is) no active tracking orpixils or any other option divulging
         or collecting info. We don’t even have a mailing list. Since this whole slanderous
         mess we have made some great strides to improve the security and privacy of
         customer communication and are looking into different website options, it willjust
         take a little time. Thank you again. Thank youfor thinkingfor yourseifand coming
         to the aid ofa small business just trying to help. We won’tforget that.

         60.      Portable_Wall_Hanger Instagram account records contain the following messages

  from an individual:

         LOL I sent you an email yesterday that probably made no sense. I’m naturally
         paranoid but I’m just going to get to the point. So you put it in and you still only
         have two selections. Ifyou want to go back to the original configuration you have
         to remove it right?



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          I used to be a cop so I had access to whatever tools I needed I no longer subscribe
          to that ideology and I still feel good I should have the freedom to select the same
          tools necessary to protect my flfe because my life isjust as important now as it was
          back then.

          61.    In response to this thinly veiled reference to using the Portable Wall Hanger

  products as drop in auto sears, the Portable Wall Hanger user stated:

          Portable Wall Hanger Single Packs require no holes/drillingfor installation, you
         just take the protectivefilm offadhesive on the mounting base and stick to the wall.
          Coat Hanger Packs require 2 screws to be drilled into the wallsfor mounting which
          would consiquently [sic] leave 2 holes behind ~f the entire Coat Hanger Pack is
          uninstalled Outside ofthe above mentioned installationfor the Coat Hanger Pack,
          there is no drilling requiredfor installation ofany Portable Wall Hanger products.
          We hope this info helps!

          62.    In response to a message asking where in West Virginia is Portable Wall Hanger

  located, the Portable Wall Hanger user stated: “We ‘re located in Ranson West Virginia.”

          63.    Portable_Wall_Hanger Instagram account records contain images uploaded by the

  Portable Wall Hanger user. These images include a photograph uploaded on or about April 16,

  2020, sourced from “Android Library,” of approximately two dozen boxes.              The image is

  accompanied by the following message from the Portable Wall Hanger user:

          Good morning shout out to our new followers! We’re working our asses off to get
          the website inventory replenished **SATURDAY will be the day for restock!
          Getting ready to send this gaggle of Red Coat Hangers into the wild All orders
         from Tue& Wed (14,15) are shipping out today!

         64.     Portable_Wall_Hanger Instagram account records contain messages from the

  Portable Wall Hanger user claiming that the products are, in fact, only intended to be wall hangers.

  For example, one individual sent a message stating: “It’s obviouslyjust a DIAS with a little extra

  material.” Based on training and experience, your Affiant knows that DIAS is an acronym for

  “drop in auto sear.” The Portable Wall Hanger user replied: “No it’s not at all.” Similarly, the


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   same individual asked: “Would the owner be alarmed to find out that his coat hangers could be

   mod~fiedto convert an AR-iS to a machine gun?” The Portable Wall Hanger user replied: “I don’t

   understand the question. As I mentioned earlier, the Portable Wall Hanger makes Wall Hangers

  spec~flcally designed to hang keys, lanyards, hats, jackets, coats and other small items.” Finally,

   this same individual sent the following message to the Portable Wall Hanger user:

          Let me break this down for you since I’m tired of tap dancing: I think you either
          glow or are too inept to get out ofyour own way. You took someone else ‘s work
          and added a trinket to it to try and be cute about a gray area in the law. I don ‘t
          care about the law in and of itseif but I think you ‘re going to attract a lot of
          attention that no one needs. There are almost 9,000 people in det_disp right now
          who are able to keep a low profile and move things forward for 3D printing and
          gun rights. Playing “I’m not touching you” in order to make $15 in sales per “key
          hanger” doesn’t do anyone any favors. Ifyou aren’t a cop, you’re a gr~fter. You
          message me and pretend you don’t know what you’re doing like I’m an idiot and
          expect me to remove my post advising people to consider steering clear of you.
          Unlikely. What you’re doing isn’t helpfulfor gun rights or for 3D printing.

          65.      The Portable Wall Hanger user responded as follows:

         The tshirt/sticker salesman calling me a gr~fler  ~.     I wish I could agree with at
         least one thing that you said, but as I said before and as I’ll say again. My company
         provides home accessories and homefurnishingproducts. We~re literally called the
         Portable Wall Hanger for crying out loud I completely denounce all slanderous
         accusations you have made about my business and products. I’m sorry that it
         dosen ‘t [sic] appease you.

          66.      Based on training and experience, your Affiant believes that the above statements

  made by Instagram username Portable_Wall_Hanger is an attempt to keep a covert profile for the

  “business” and not to say anything that may indicate the individual’s underlying criminal intent to

  manufacture and sell drop in auto sears as wall/key hangers.

                FBI-Pittsburgh UCE Purchases Auto Sears from Portable Wall Hanger

          67.      On or about October 15, 2020, a paid confidential human source (“CHS”) handled

  by FBI-Pittsburgh placed an order via the website portablewallhanger.com. Specifically, at the


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  FBI’s request, the CHS ordered a “Portable Mask Hanger with a Replacement Hanger Hook” and

  a “Grey Coat Hanger Pack with a Replacement Hanger Hook” for a total of $47.45, which the

  CHS paid via PayPal. The CHS requested that the order be shipped to a P.O. Box in Pittsburgh,

  Pennsylvania. The order confirmation page on the website indicated that the shipping method

  would be   U.S. Postal Service 3-5 Business Days.
         68.      On or about October 19, 2020, the e-mail account provided by the CHS when

  placing the order received an e-mail from portablewa1lhanger~protonmail.com, stating:

         Hope you ‘re well bud.
         We ‘re working on boxing orders right now. Your order is slated to ship today so
         you should be receiving a tracking number by the end ofthe day. (Keep an eye on
         your spam mailfolderfor, some reason the tracking # emails can wind up therefor
         some customers.

         Best Regards,
         T @ Portable Wall Hanger

         69.     On or about October 19, 2020, according to the U.S. Postal Service, the subject

  package was dropped off at the U.S. Post Office in Ranson, West Virginia, for shipment to the

  P.O. Box in Pittsburgh. The Ranson post office is located approximately one (1) mile from

  WATSON’ s residence.

         70.     On or about October 20, 2020, an FBI surveillance team observed an individual

  believed to be WATSON exit WATSON’s residence along with a female believed to be CROSS

  and get into a 2005 Volkswagen Jetta, hereinafter the “vehicle.” The FBI surveillance team

  observed WATSON depart WATSON’s residence area operating the vehicle. Registration records

  for the vehicle show WATSON as the owner/registrant of the vehicle since in or about October

  2018. Registration records also associate the vehicle with WATSON’s residence. The FBI

  surveillance team observed the vehicle arrive at the U.S. Post Office in Ranson, West Virginia.


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   FBI surveillance observed WATSON exit the vehicle with a small white package and enter the

  post office. Approximately three minutes later, FBI surveillance observed WATSON exit the post

  office and enter the vehicle. FBI surveillance observed the vehicle return to WATSON’s residence

  where WATSON and CROSS then exited the vehicle and entered WATSON’s residence.

          71.      On or about October 23, 2020, the aforementioned e-mail account provided by the

  CHS when placing the order received an e-mail from portablewallhanger@protonmail.com,

  stating that the order shipped out on October 19, 2020. The e-mail also included a U.S. Postal

  Service tracking number.

          72.      On or about October 24, 2020, the U.S. Postal Service delivered the package

  containing the Portable Wall Hanger products the CHS ordered on or about October 15, 2020, to

  the P.O. Box in Pittsburgh, Pennsylvania.

          73.      On or about October 26, 2020, the FBI obtained possession of the package, took

  photographs and inventory of the contents, and subsequently transferred custody of the package

  and contents to the ATF for inspection/analysis and testing. The package contained a Mask Hanger

  (vent clip and “hook”), a Coat Hanger (mounting bracket and “hook”), and four (4) replacement

  “hooks.” The “hooks” are the pieces that operate as drop in auto sears. In total, six (6) “hooks”

  were purchased.

          74.      On or about October 27, 2020, the ATF analyzed the Portable Wall Hanger products

  ordered by the CHS and sent to Pittsburgh. The ATF determined that the “hooks” are, in fact, drop

  in auto sears.

      Neither Watson nor Portable Wall Hanger is Registered to Manufacturer Firearms

          75.      On or about October 21, 2020, the ATF queried its database and discovered that

  neither Watson, queried by his name and social security number, nor Portable Wall Hanger is

                                                  30
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  registered to manufacture firearms.

                                              CONCLUSION

         76.       Based on the forgoing, there is probable cause that   —




               a. Beginning on or about January 8, 2020, and continuing up to and including October

                  30, 2020, in Jefferson County, West Virginia, within the Northern District of West

                  Virginia, and elsewhere, the defendant, TIMOTHY JOHN WATSON, did

                  knowingly combine, conspire, confederate, agree and have a tacit understanding

                  with another person to commit an offense against the United States, to wit:

                  violations of 18 U.S.C.   § 922(o) and 26 U.S.C. § 5861(a), and, in furtherance of the
                  conspiracy, and to effect to objects thereof, a conspirator committed at least one

                  overt act in the Northern District of West Virginia, in violation of 18 U.S.C.   § 371.
               b. Beginning on or about January 8, 2020, and continuing up to and including October

                  30, 2020, in Jefferson County, West Virginia, within the Northern District of West

                  Virginia, the defendant, TIMOTHY JOHN WATSON, did knowingly possess

                  and transfer machineguns, to wit: machinegun conversion devices for AR- 15 style

                  rifles, also known as “drop in auto sears,” in violation of 18 U.S.C.   § 922(o).
               c. Beginning on or about January 8, 2020, and continuing up to and including October

                  30, 2020, in Jefferson County, West Virginia, within the Northern District of West

                  Virginia, the defendant, TIMOTHY JOHN WATSON, did knowingly engage in

                  the business of manufacturing and dealing in firearms, to wit:            machinegun

                  conversion devices for AR-is style rifles, also known as “drop in auto sears,”

                  without having paid the special occupational tax required by 26 U.S.C.     § 5801   and



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              without having registered as required by 26 U.S.C.     § 5802,   all in violation of 26

              u.s.c.   § 5861(a).
        77.   Accordingly, I request that the Court issue the proposed arrest warrant.

                                                   Respectfully submitted,



                                                   Mark McNeal
                                                   Special Agent
                                                   Federal Bureau of Investigation


        Subscribed and sworn to before me on __________________________, 2020




        HO ORABLE ROBERT \v. TRUMB~E
        UNITED STATES MAGISTRATE JUDGE




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